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IN THE UNITED sTATEs DISTRICT COURT 23'§3 087 d
FOR THE DlsTRlcT oF MARYLAND . §§ PH 3" ltZ
k ` EL§YH’S GFFJCE
UNITED sTATEs 0F AMERICA CRIMINAL No. ELH-18_493 et Bamz»;ggg '

v. ‘ BY------U€PU,TY

RODNEY BLUE,
TYREK BUTLER,
DUANE DAY,
DAKWAN GRAY,
JUAN HILL,
DIAMONTE JACKSON,
DAVON JOHNSON,
ALLEN JONES,

a.k.a. “WAX,”
WILLIAM STEWART,

a.k.a. “PIMP,”
ANTHONY WASHINGTON,
ANDRE WEBB,

a.k.a. “GEETCHI,”

Defendants.

 

 

MOTION TO SEAL SUPERSEDING INDICTMENT
The United States of America, by its attorneys, Robert K. Hur, United States Attorney for
the District of Maryland and Matthew DellaBetta, Assistant United States Attorney for said
District, moves this Honorable Cc)urt to order and direct that the Superseding Indictment and this
Motion be SEALED, until all of the defendants have been arrested -
Respectfully Submitted,
- Robert K. Hur

Matthew DellaB etta
Assistant United States Attorney

 

